Case 01-01139-AMC Doc 11941-3 Filed 03/03/06 Page 1 of 22

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO., et al., ) Case No. 01-01139 (JKF)
) Jointly Administered
Debtors. )
CERTIFICATE OF SERVICE

I, James E. O’ Neill, hereby certify that on the > day of March, 2006, I caused a
copy of the following document(s) to be served on the individuals on the attached service list(s)

in the manner indicated:

Notice of Deposition and Subpoena of Philip Lucas, M.D.

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fs es E. O’Neill (DE Bar No. 4042)

91100-00 I\DOCS_DE:111474.51
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